Case 1:16-cv-00299-MSK-KMT Document 201 Filed 04/12/18 USDC Colorado Page 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 16-cv-00299-MSK-KMT

   SYLVESTER CUEVAS,

          Plaintiff,

   v.

   UNITED STATES OF AMERICA;
   J. RODRIGUEZ, C/O (ADX);
   MUNOZ, C/O (ADX);
   LAZANO, C/O (ADX);
   HEWITT, Case Manager (ADX);
   MARSHALL, C/O (ADX);
   PERKINS, C/O (ADX);
   GOMEZ, C/O (ADX);
   MCAVOY, C/O (ADX);
   LEE, C/O (ADX);
   MANES, C/O (ADX);
   MANNESS, C/O (ADX);
   WADAS, C/O (ADX);
   HUMPHRIES, C/O (ADX);
   ROBINSON, C/O (ADX);
   BERG, C/O (ADX); and
   PETERS, C/O (ADX);

          Defendants.


                                     ENTRY OF APPEARANCE


          I, Julian G.G. Wolfson, of the LAW OFFICE OF JULIAN G.G. WOLFSON, LLC, hereby

   certify that I am a member in good standing of the bar of this Court, and I appear in this case as

   counsel for Plaintiff Sylvester Cuevas.

          DATED this 12th day of April, 2018.

                                                        /s/Julian G.G. Wolfson
                                                        Julian G.G. Wolfson
                                                        LAW OFFICE OF JULIAN G.G. WOLFSON, LLC
Case 1:16-cv-00299-MSK-KMT Document 201 Filed 04/12/18 USDC Colorado Page 2 of 2




                                                        1630 Welton Street #413
                                                        Denver, CO 80202
                                                        (720) 507-5133
                                                        jwolfsonlaw@gmail.com

                                   CERTIFICATE OF SERVICE

   I hereby certify that on this 12th day of April, 2018, I electronically filed the foregoing ENTRY
   OF APPEARANCE with the Clerk of the Court using the CM/ECF system which will send
   notification of such filing to the following email addresses:

   Juan G. Villasenor
   U.S. Attorney’s Office-Denver
   1801 California Street
   Suite 1600
   Denver, CO 80202
   303-454-0185
   Fax: 303-454-0404
   Email: juan.villasenor@usdoj.gov

                                                        /s/ Julian G.G. Wolfson




                                                   2
